UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

CLERK’S MINUTES
OOOO
CASE NO.: 1:21cr048 DATE: August 4, 2021
UNITED STATES OF AMERICA

TIMES: 2:01 - 2:25
V
Sammie Lee Sias
eoOCC::::::::QQ.{[Ccc—:::::==z—™DHup=>=>5
Honorable: Brian K. Epps, United States Magistrate Judge Courtroom Deputy: Courtnay Capps
Court Reporter: FTR Interpreter:
Probation Officer: Chris Doughtie Security: CSO Ingram, Russell

 

 

Attorney for Government: Tara Lyons, Patricia Rhodes

Attorney for Defendant(s): David Stewart, Ken Crowder

 

 

PROCEEDINGS: INITIAL APPEARANCE/ARRAIGNMENT

Defendant advised of rights

[| CJA counsel appointed
Defendant advised of charges and penalties

 

 

vi
Y Not guilty plea entered
v

Defendant's pretrial motions due within _!4 _ days: Y Rule 5/Brady materials reviewed

 

 

 

 

Government moves for detention:

 

 

 

 

Defendant waives detention hearing at this time

Matter of detention is moot due to
Defendant requests 5 days to prepare for detention hearing

Government requests 3 days to prepare for detention hearing

 

 

Detention hearing scheduled for:

Detention hearing held

 

 

Witness for Gov't: Witness Sworn

 

 

 

 

Witness for Def:

 

 

 

 

Witness Sworn

 

 

 

Defendant detained pending trial
—n
Defendant remanded to custody of USMS

 

 

Defendant granted bond: $50,000 unsecured until 5:00 p.m. Monday, August 9, 2021 at which time it shall be
secured by 10% ($5,000)
Notes:
